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 8
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 9   UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. 17-206-JAK

13                Plaintiff,                  STIPULATION REGARDING REQUEST FOR
                                              (1) CONTINUANCE OF TRIAL DATE AND
14                     v.                     (2) FINDINGS OF EXCLUDABLE TIME
                                              PERIODS PURSUANT TO SPEEDY TRIAL
15   TREVON MAURICE FRANKLIN,                 ACT

16                Defendant.                  CURRENT TRIAL DATE:    2/27/18
                                              [PROPOSED] TRIAL DATE: 6/26/18
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             Plaintiff United States of America, by and through its counsel
20
     of record, the United States Attorney for the Central District of
21
     California and Assistant United States Attorney Ryan White, and
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     defendant TREVON MAURICE FRANKLIN (“defendant”), both individually
23
     and by and through his counsel of record, Deputy Federal Public
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     Defender Summer Lacey, hereby stipulate as follows:
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             1.   The Indictment in this case was made public on June 13,
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     2017.    Defendant first appeared before a judicial officer of the
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     court in which the charges in this case were pending on June 27,
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 1   2017.    The Speedy Trial Act, 18 U.S.C. § 3161, originally required

 2   that the trial commence on or before September 5, 2017.

 3           2.   On June 27, 2017, the Court set a trial date of August 22,

 4   2017, and a pretrial conference/motions hearing date of August 10,

 5   2017.

 6           3.   The Court has previously continued the trial date in this

 7   case from August 22, 2017, to February 27, 2018, and found the

 8   interim period to be excluded in computing the time within which the

 9   trial must commence, pursuant to the Speedy Trial Act.

10           4.   Defendant is released on bond pending trial.        The parties

11   estimate that the trial in this matter will last approximately two to

12   three days.

13           5.   By this stipulation, defendant moves to continue the trial

14   date to June 26, 2018, and to continue the pretrial

15   conference/motions hearing date to June 14, 2018.          This is the second

16   request for a continuance.

17           6.   Defendant requests the continuance based upon the following

18   facts, which the parties believe demonstrate good cause to support

19   the appropriate findings under the Speedy Trial Act:

20                a.   Defendant is charged with a violation of 17 U.S.C.

21   § 506(a)(1)(B), 18 U.S.C. 2319(a): Criminal Infringement of a

22   Copyright.    The government has produced discovery to the defense,

23   including approximately 364 pages or files of records (certain

24   electronic files contain more than one page of records each).

25                b.   Defense counsel has the following conflicts:         United

26   States v. Sosa-Peterson, CR 17-87-DMG, a false information on a

27   passport case scheduled for trial on February 13, 2018, and estimated

28   to last 2-3 days.     United States v. Rodriguez, CR 17-782-JFW, a

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 1   multiple defendant felon in possession of a weapon case scheduled for

 2   trial on February 20, 2018, and expected to last 2-3 days.            United

 3   States v. Cruz, CR 17-335-FMO, a mail theft and felon in possession

 4   of a weapon case scheduled for trial on February 20, 2018, and

 5   expected to last 2-3 days. United States v. Hobbs, CR 17-364-GW, a

 6   possession with intent to distribute a controlled substance case.

 7   Trial is scheduled for March 6, 2018, and is estimated to last 3

 8   days.   United States v. Bellamy, CR 17-117-MWF, a possession with

 9   intent to distribute cocaine case.        Trial is scheduled to begin on

10   March 20, 2018, and is expected to last 2-3 days.          United States v.

11   Lindsey, CR 17-301-SJO, a mail theft case.         Trial is scheduled for

12   April 10, 2018, and is estimated to last 2 days.          United States v.

13   Carper, CR 17-521-SVW, a possession of child pornography case.                Trial

14   is scheduled for April 17, 2018, and is estimated to last 4 days.

15   United States v. Brown, CR 16-669, a theft of government property

16   case. Trial is scheduled for April 24, 2018, and is estimated to last

17   2-3 days.   United States v. Shelton, CR 17-391-GW, a felon in

18   possession of a weapon case scheduled for trial on May 1, 2018, and

19   expected to last 2-3 days.      United States v. Garrett, CR 17- 422-ODW,

20   a theft of government property case.        Trial is scheduled to begin on

21   May 15, 2018, and is expected to last 2-3 days.          United States v.

22   Hurt, CR 17-293-SJO, a theft of government property case.            Trial is

23   scheduled to begin on May 22, 2018, and is expected to last 2-3 days.

24   Accordingly, counsel represents that she will not have the time that

25   she believes is necessary to prepare to try this case on the current

26   trial date.

27               c.   In light of the foregoing, counsel for defendant also

28   represents that additional time is necessary to confer with

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 1   defendant, conduct and complete an independent investigation of the

 2   case, conduct and complete additional legal research including for

 3   potential pre-trial motions, review the discovery and potential

 4   evidence in the case, and prepare for trial in the event that a

 5   pretrial resolution does not occur.        Defense counsel represents that

 6   failure to grant the continuance would deny her reasonable time

 7   necessary for effective preparation, taking into account the exercise

 8   of due diligence.

 9                d.   Defendant believes that failure to grant the

10   continuance will deny him continuity of counsel and adequate

11   representation.

12                e.   The government does not object to the continuance.

13                f.   The requested continuance is not based on congestion

14   of the Court’s calendar, lack of diligent preparation on the part of

15   the attorney for the government or the defense, or failure on the

16   part of the attorney for the Government to obtain available

17   witnesses.

18        7.      For purposes of computing the date under the Speedy Trial

19   Act by which defendant’s trial must commence, the parties agree that

20   the time period of February 27, 2018 to June 26, 2018, inclusive,

21   should be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

22   (h)(7)(B)(i) and (h)(7)(B)(iv) because the delay results from a

23   continuance granted by the Court at defendant’s request, without

24   government objection, on the basis of the Court’s finding that:

25   (i) the ends of justice served by the continuance outweigh the best

26   interest of the public and defendant in a speedy trial; (ii) failure

27   to grant the continuance would be likely to make a continuation of

28   the proceeding impossible, or result in a miscarriage of justice; and

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 1   (iii) failure to grant the continuance would unreasonably deny

 2   defendant continuity of counsel and would deny defense counsel the

 3   reasonable time necessary for effective preparation, taking into

 4   account the exercise of due diligence.

 5        8.    Nothing in this stipulation shall preclude a finding that

 6   other provisions of the Speedy Trial Act dictate that additional time

 7   periods be excluded from the period within which trial must commence.

 8   Moreover, the same provisions and/or other provisions of the Speedy

 9   Trial Act may in the future authorize the exclusion of additional

10   time periods from the period within which trial must commence.

11        IT IS SO STIPULATED.

12   Dated: January 22, 2018              Respectfully submitted,

13                                        NICOLA T. HANNA
                                          United States Attorney
14
                                          PATRICK R. FITZGERALD
15                                        Assistant United States Attorney
                                          Chief, National Security Division
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17
                                          RYAN WHITE
18                                        Assistant United States Attorney

19                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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